AO 245D (Rev. 09/19) Judgment in a Criminal Case for Revocations
                       Sheet I



                                      UNITED STATES DISTRICT COURT
                                                       Middle District of Tennessee

            UNITED STATES OF AMERICA                                 JUDGMENT IN A CRIMINAL CASE
                                  M                                  (For Revocation of Probation or Supervised Release)

            CURTIS DEWAYNE ROBINSON
                                                                     Case No. 3:13-cr-00006
                                                                     USM No. 21552-075
                                                                             is Sherwood
                                                                                              Defendant's Attorney
THE DEFENDANT:
✓1 admitted guilt to violation of condition(s)
C                                                       1                             of the term of supervision.
❑ was found in violation of condition(s) count(s)                               after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                 Nature of Violation                                                        Violation Ended
1                                 Unlawful use of a controlled substance                                    05/15/2020




       The defendant is sentenced as provided in pages 2 through         2      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
❑ The defendant has not violated condition(s)                           and is discharged as to such violation(s) condition.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant's Soc, Sec. No.: 4083                                               09/29/2020
                                                                                         Date of Imposition of Judgment
Defendant's Year of Birth:            1984

City and State of Defendant's Residence:                                                        Signature of Judge
Cookeville. TN
                                                                              Eli Richardson, United States District Judge
                                                                                              Na ne and Title of Judge
                                                                                                 fi
                                                                                      ~C;-6LJe~ , o2 0
                                                                                                         Date




               Case 3:13-cr-00006 Document 76 Filed 10/02/20 Page 1 of 2 PageID #: 249
AO 245D (Rev. 09/19) Judgment in a Criminal Case for Revocations
                       Sheet 3 — Supervised Release
                                                                                     Judgment—Page   2   of    2
DEFENDANT: CURTIS DEWAYNE ROBINSON
CASE NUMBER: 3:13-cr-00006
                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a terra of :
 Defendant is to continue on his previously imposed supervised release, which is set to expire on July 19, 2022.




              Case 3:13-cr-00006 Document 76 Filed 10/02/20 Page 2 of 2 PageID #: 250
